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                                   1                                    UNITED STATES DISTRICT COURT

                                   2                                 NORTHERN DISTRICT OF CALIFORNIA

                                   3

                                   4          GENTEX CORPORATION ET ,                       Case No. 4:22-cv-03892-YGR
                                                        Plaintiff(s),
                                   5
                                                                                            APPLICATION FOR ADMISSION OF
                                                  v.                                        ATTORNEY PRO HAC VICE
                                   6
                                                                                            (CIVIL LOCAL RULE 11-3)
                                   7          META PLATFORMS ET AL              ,
                                                        Defendant(s).
                                   8

                                   9

                                  10          I, Brandon C. Helms             , an active member in good standing of the bar of

                                  11    Michigan and Illinois                 , hereby respectfully apply for admission to practice pro hac

                                  12   vice in the Northern District of California representing: Thales Visionix, Inc.              in the
Northern District of California
 United States District Court




                                  13   above-entitled action. My local co-counsel in this case is Paul N. Tauger                    , an

                                  14   attorney who is a member of the bar of this Court in good standing and who maintains an office

                                  15                                                                     160552
                                       within the State of California. Local co-counsel’s bar number is: _________________.

                                  16
                                       401 N. Michigan Ave., 1200-1, Chicago, Il            5151 California St, #100, Irvine, CA 92617
                                  17    MY ADDRESS OF RECORD                                 LOCAL CO-COUNSEL’S ADDRESS OF RECORD

                                  18   312.731.6568                                         949.438.3218
                                        MY TELEPHONE # OF RECORD                             LOCAL CO-COUNSEL’S TELEPHONE # OF RECORD
                                  19
                                       bhelms@addyhart.com                                  ptauger@addyhart.com
                                  20    MY EMAIL ADDRESS OF RECORD                           LOCAL CO-COUNSEL’S EMAIL ADDRESS OF RECORD

                                  21

                                  22          I am an active member in good standing of a United States Court or of the highest court of
                                  23   another State or the District of Columbia, as indicated above; my bar number is: 6294316              .
                                  24          A true and correct copy of a certificate of good standing or equivalent official document
                                  25   from said bar is attached to this application.
                                  26                                                                  0
                                              I have been granted pro hac vice admission by the Court _______ times in the 12 months
                                  27   preceding this application.
                                  28
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                                   1            I agree to familiarize myself with, and abide by, the Local Rules of this Court, especially

                                   2   the Standards of Professional Conduct for attorneys and the Alternative Dispute Resolution Local

                                   3   Rules. I declare under penalty of perjury that the foregoing is true and correct.

                                   4   Dated: January 23, 2024                                       Brandon C. Helms
                                                                                                     APPLICANT
                                   5

                                   6

                                   7

                                   8                                  ORDER GRANTING APPLICATION

                                   9                          FOR ADMISSION OF ATTORNEY PRO HAC VICE

                                  10

                                  11            IT IS HEREBY ORDERED THAT the application of Brandon C. Helms                        is

                                  12   granted, subject to the terms and conditions of Civil L.R. 11-3. All papers filed by the attorney
Northern District of California
 United States District Court




                                  13   must indicate appearance pro hac vice. Service of papers upon, and communication with, local co-

                                  14   counsel designated in the application will constitute notice to the party.

                                  15   Dated:

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                                                                                  UNITED STATES DISTRICT/MAGISTRATE JUDGE
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                                       Updated 11/2021                                   2
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